            Case: 20-3202                 Document: 80          Filed: 03/13/2023     Pages: 1



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                 Office of the Clerk
        United States Courthouse
                                                                                Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                                www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                      ORDER
March 13, 2023

By the Court:
                                     LATRINA COTHRON,
                                              Plaintiff - Appellee

 No. 20-3202                         v.

                                     WHITE CASTLE SYSTEM, INC.,
                                             Defendant - Appellant
Originating Case Information:
District Court No: 1:19-cv-00382
Northern District of Illinois, Eastern Division
District Judge John J. Tharp


The following are before the court:

1.       CIRCUIT RULE 52(b) STATEMENT OF POSITION OF DEFENDANT-APPELLANT
         WHITE CASTLE SYSTEM, INC., filed on March 10, 2023, by counsel for the appellant.

2.       CIRCUIT RULE 52(B) STATEMENT OF POSITION OF PLAINTIFF-APPELLEE
         LATRINA COTHRON, filed on March 10, 2023, by counsel for the appellee.

On March 10, 2023, Defendant-Appellant White Castle System, Inc. filed a petition for rehearing
in the Illinois Supreme Court. The parties are directed to file updated statements of position
under Circuit Rule 52(b) within seven days of the issuance of the Illinois Supreme Court’s
mandate.




form name: c7_Order_BTC        (form ID: 178)
